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                     UNITED STATES DISTRICT COURT
                          DISTRICT OF IDAHO
                U.S. MAGISTRATE JUDGE MINUTE ENTRY
☒Video Arraignment
☒Initial Appearance
☒Government’s Motion for Detention CONTINUED
☒Detention Hearing will be held on Thursday, April 29, 2021 at 11 a.m. via video.

MAGISTRATE JUDGE: Ronald E. Bush                    DATE: April 26, 2021
DEPUTY CLERK/ESR: Jackie Hildebrand                 TIME: 9:30 am – 9:45 am via Zoom
                                                          Boise, ID
       UNITED STATES OF AMERICA vs. OLIVER YARDLEY
                                     1-21-cr-00119-BLW-1

Counsel for:   United States (AUSA): Christopher Atwood
               Defendant: Craig Durham, CJA Counsel
               USPO: Gavin Zickefoose

☒Defendant placed under oath and waives personal appearance.
☒Defendant appears on a warrant/indictment. Defendant has read the indictment
☒Court reviewed the record.
☒Constitutional Rights to Jury Trial and Counsel advised.
☒Maximum Penalties Provided.
☒Notice given re Brady v Maryland to defendant and counsel.
☒Financial Affidavit reviewed/qualified and Court appointed the Craig Durham to represent the
defendant.
 ☒Indictment      ☐Information           ☐Complaint
                  ☒Copy furnished to defendant/understand the charges and maximum penalties
                  ☐Read by Clerk         ☒Waived reading           ☐Read by Interpreter

PLEA: NOT GUILTY entered by the defendant and denial of the forfeiture.

☒Counsel made elections to the Procedural Order. No search warrants.

The Jury Trial is set for 6/28/2021at 1:30 p.m. in Boise, Idaho before District Judge B. Lynn
Winmill. A telephonic pre-trial readiness conference is set for 6/17/2021at 4:00 p.m. before
JudgeWinmill. Counsel for the Government is directed to initiate the call.

☒Defendant requested a continuance on the Detention Hearing. The Court entered a Temporary
Order of Detention. The Detention Hearing set for April 29, 2021at 11 a.m. (Mountain Time)
before Judge Ronald E. Bush via Zoom.
☒Court will enter an Order of Temporary Detention, pending the Detention Hearing.
☒Parties may keep copy of Bail Report; So Ordered.
☒Defendant remanded to the custody of the U.S. Marshal.
